                                                                     1




Case 1:24-cv-00154-MOC-WCM Document 1-1 Filed 05/22/24 Page 1 of 8
Case 1:24-cv-00154-MOC-WCM Document 1-1 Filed 05/22/24 Page 2 of 8
Case 1:24-cv-00154-MOC-WCM Document 1-1 Filed 05/22/24 Page 3 of 8
Case 1:24-cv-00154-MOC-WCM Document 1-1 Filed 05/22/24 Page 4 of 8
Case 1:24-cv-00154-MOC-WCM Document 1-1 Filed 05/22/24 Page 5 of 8
Case 1:24-cv-00154-MOC-WCM Document 1-1 Filed 05/22/24 Page 6 of 8
Case 1:24-cv-00154-MOC-WCM Document 1-1 Filed 05/22/24 Page 7 of 8
Case 1:24-cv-00154-MOC-WCM Document 1-1 Filed 05/22/24 Page 8 of 8
